
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-171-
CV



IN RE SUE MAYFIELD KEEVER	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B
: DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED June 16, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




